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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

          MARK ANDREWS,                   Case No. 1:22-cv-04259-SDG

                     Plaintiff,

                v.

          DINESH D’SOUZA, et al.,

                     Defendants.


                NOTICE OF FILING OF EXHIBITS 26 - 50

      In connection with Plaintiff Mark Andrews’ Motion for Partial Summary

Judgment, at Docket 250, Plaintiff Mark Andrews submits this Notice of Filing for

accompanying Exhibits 26 – 50.

      Respectfully submitted this 20th of December, 2024.

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                    LOCAL RULE 7.1D CERTIFICATION

      I hereby certify that the foregoing Plaintiff’s Notice of Filing Sealed

Documents was prepared double-spaced using Times New Roman font (14 point),

in compliance with Local Rule 5.1B.

      This 20th day of December, 2024.

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